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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


SMARTMATIC USA CORP.,                                )   CASE NO. 2:23-MC-00034
SMARTMATIC INTERNATIONAL                             )
HOLDING B.V., AND SGO                                )   JUDGE MARK S. NORRIS
CORPORATION LIMITED,                                 )
                                                     )   MAGISTRATE JUDGE ANNIE T.
                        Petitioners,                 )   CHRISTOFF
                                                     )
        vs.                                          )   MOTION FOR STATUS CONFERENCE
                                                     )
BRANNON HOWSE,                                       )
                                                     )   Related to Action Pending in the U.S. District
                        Respondent.                  )   Court of the District of Minnesota, Smartmatic
                                                     )   USA Corp., et al. v. Lindell, et al., 22-cv-
                                                     )   00098-JMB-JFD
                                                     )


        Smartmatic1 respectfully moves this Court to schedule a status conference to discuss its

pending Motion to Compel Compliance with Third-Party Subpoena. The reasons for this motion

are set forth in Smartmatic’s Memorandum in Support of its Motion for Status Conference.

Smartmatic has attempted to meet and confer with counsel for Respondent Brannon Howse, but

counsel did not respond to multiple requests to do so.



Dated: May 7, 2024                                       Respectfully submitted,




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  Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO Corporation Limited are collectively
referred to as “Smartmatic.”
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 7, 2024 a copy of the foregoing Motion For Status Conference

was filed electronically. Notice of this filing will be sent by operation of the Court’s electronic

filing system to all parties indicated on the electronic filing receipt. Parties may access this filing

through the Court’s system.




                                                   s/ James R. Bedell
                                                   Attorney for Petitioners
